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                                                         - 553 -
                             Nebraska Court of Appeals Advance Sheets
                                  30 Nebraska Appellate Reports
                                                   STATE v. YOUNG
                                                Cite as 30 Neb. App. 553



                                        State of Nebraska, appellee, v.
                                          Kevin J. Young, appellant.
                                                     ___ N.W.2d ___

                                         Filed February 1, 2022.   No. A-21-244.

                 1. Judgments: Speedy Trial: Appeal and Error. Generally, a trial court’s
                    determination as to whether charges should be dismissed on speedy
                    trial grounds is a factual question that will be affirmed on appeal unless
                    clearly erroneous.
                 2. Judgments: Appeal and Error. Under a clearly erroneous standard of
                    review, an appellate court does not reweigh the evidence but considers
                    the judgment in a light most favorable to the successful party, resolving
                    evidentiary conflicts in favor of the successful party, who is entitled to
                    every reasonable inference deducible from the evidence.
                 3. Speedy Trial: Proof. The State bears the burden to show, by a prepon-
                    derance of the evidence, the applicability of one or more of the excluded
                    time periods under Neb. Rev. Stat. § 29-1207(4) (Reissue 2016).
                 4. Speedy Trial. To calculate the deadline for trial under the speedy trial
                    statutes, a court must exclude the day the State filed the information,
                    count forward 6 months, back up 1 day, and then add any time excluded
                    under Neb. Rev. Stat. § 29-1207(4) (Reissue 2016).
                 5. Good Cause. A district court’s good cause findings must be supported
                    by evidence in the record, and the State bears the burden of establishing
                    facts showing that good cause existed.
                 6. Speedy Trial: Good Cause: Motions for Continuance. When a trial
                    court’s sua sponte decision to delay trial implicates statutory speedy trial
                    rights, the exclusion of the period attributable to such delay is governed
                    by a showing on the record of good cause as described by Neb. Rev.
                    Stat. § 29-1207(4)(f) (Reissue 2016).
                 7. Speedy Trial: Good Cause. Evidence of good cause is properly pre-
                    sented at the hearing on the motion for absolute discharge and need not
                    be articulated at the time of the court’s sua sponte order delaying trial.
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          Nebraska Court of Appeals Advance Sheets
               30 Nebraska Appellate Reports
                              STATE v. YOUNG
                           Cite as 30 Neb. App. 553
 8. Speedy Trial: Good Cause: Proof. The burden under Neb. Rev. Stat.
    § 29-1207(4)(f) (Reissue 2016) is simply that there be “good cause.”
 9. Speedy Trial: Good Cause: Appeal and Error. In determining whether
    the trial court clearly erred in finding good cause after a hearing on a
    motion for discharge, an appellate court looks not just to the evidence
    presented at the hearing on the motion for discharge, but to the whole of
    the record.
10. Speedy Trial. The only timing requirement implicit in Neb. Rev. Stat.
    § 29-1207(4)(f) (Reissue 2016) is that the substantial reason affording a
    legal excuse objectively existed at the time of the delay.
11. Speedy Trial: Good Cause: Proof: Appeal and Error. An appellate
    court’s review of whether the State met its burden to show good cause
    focuses on the evidence presented to the court at the hearing on the
    motion for discharge and whether the evidence supported the court’s
    finding that good cause existed at the time of the delay. In doing so, an
    appellate court looks not just to the evidence presented at the hearing on
    the motion for discharge, but to the whole of the record.
12. Speedy Trial: Good Cause. When a trial court relies on Neb. Rev. Stat.
    § 29-1207(4)(f) (Reissue 2016) to exclude time from the speedy trial
    calculation, a general finding of “good cause” will not suffice. Instead,
    the court must make specific findings as to the good cause which
    resulted in the delay.
13. Good Cause: Appeal and Error. An appellate court will give defer-
    ence to the trial court’s factual findings as to good cause unless they are
    clearly erroneous.

  Appeal from the District Court for Douglas County: Thomas
A. Otepka, Judge. Affirmed.
  Thomas C. Riley, Douglas County Public Defender, and
Tamara T. Mosby for appellant.
   Douglas J. Peterson, Attorney General, and Stacy M. Foust
for appellee.
   Pirtle, Chief Judge, and Riedmann and Welch, Judges.
   Pirtle, Chief Judge.
                      INTRODUCTION
   Kevin J. Young appeals the order of the district court
for Douglas County which overruled his motion for absolute
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                         STATE v. YOUNG
                      Cite as 30 Neb. App. 553
discharge wherein he alleged a violation of his statutory right
to a speedy trial. Young claims that the district court erred
when it concluded that a continuance ordered by the court in
response to the COVID-19 pandemic was for good cause and
therefore should be excluded from the calculation of the time
for bringing him to trial. Based on the reasons that follow, the
district court’s order is affirmed.

                       BACKGROUND
   On July 9, 2020, the State filed an information charging
Young with possession of a deadly weapon by a prohibited per-
son, a Class ID felony, under Neb. Rev. Stat. § 28-1206(3)(b)
(Cum. Supp. 2020). Young filed a motion for discovery on
July 10, and the district court granted the motion on July 14.
On December 7, the court set the matter for trial for January
4, 2021.
   On December 11, 2020, the court, on its own motion, con-
tinued the January 4, 2021, trial to “the next readily available
criminal jury panel” due to the COVID-19 pandemic. In its
order, the court found that “continuing the criminal proceed-
ing due to the current pandemic outweighs [Young’s] right
to a speedy trial and the period of delay caused by the con-
tinuance implemented by this Order are excluded for good
cause.” It further found that “on December 11, 2020, Judge
Horatio Wheelock, Presiding District Court Judge entered
Order MS 20-110 suspending all jury trials through February
28, 2021 due to a resurgence of the Covid 19 pandemic.” Judge
Horatio Wheelock’s order and its attachments were attached
to the court’s December 11, 2020, order for continuance. The
court excluded the time between December 11 “and [the] jury
trial” from Young’s speedy trial calculation.
   Young filed a motion for discharge on January 20, 2021,
and a hearing on the motion was held on February 24. The
State offered four exhibits into evidence: the docket sheet
from the case; the court’s November 19, 2020, order setting
a pretrial conference for December 7; the court’s December
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                         STATE v. YOUNG
                      Cite as 30 Neb. App. 553
11 order for continuance, as well as all the attachments;
and the transcript from the December 7 pretrial conference.
Young offered into evidence administrative orders issued by
the Chief Justice of the Nebraska Supreme Court on June
30 and November 6 that outlined procedures for the judicial
branch with respect to COVID-19. Both administrative orders
concluded, in part, that “no court shall close unless or until
the Chief Justice of the Nebraska Supreme Court has issued
an order declaring a nonjudicial day.” The court received all
exhibits into evidence.
   On March 12, 2021, the district court overruled Young’s
motion for discharge. It found two periods of time that extended
the speedy trial clock. First, it found that Young’s motion for
discovery resulted in 4 excludable days under Neb. Rev. Stat.
§ 29-1207(4)(a) (Reissue 2016). Second, it found that the
court’s December 11, 2020, continuance of the January 4,
2021, scheduled trial date was an excludable period under
§ 29-1207(4)(f). It concluded that based on exhibit 3 (the
court’s order for continuance, along with Judge Wheelock’s
order and the attachments to that order), the State established
“good cause” under § 29-1207(4)(f), and that the time between
December 11, 2020, and the jury trial was excludable from the
speedy trial calculation.
                  ASSIGNMENT OF ERROR
   Young assigns that the district court erred in overruling his
motion for absolute discharge because the State failed to meet
its burden to show that good cause existed sufficient to toll his
speedy trial rights.
                  STANDARD OF REVIEW
   [1,2] Generally, a trial court’s determination as to whether
charges should be dismissed on speedy trial grounds is a fac-
tual question that will be affirmed on appeal unless clearly
erroneous. State v. Chase, 310 Neb. 160, 964 N.W.2d 254(2021). Under a clearly erroneous standard of review, an
appellate court does not reweigh the evidence but considers
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                         STATE v. YOUNG
                      Cite as 30 Neb. App. 553
the judgment in a light most favorable to the successful party,
resolving evidentiary conflicts in favor of the successful party,
who is entitled to every reasonable inference deducible from
the evidence. Id.                           ANALYSIS
   Young claims that the district court erred when it rejected
his argument that he was entitled to absolute discharge because
the State had violated his statutory right to a speedy trial. He
claims that the court erred when it found that the December 11,
2020, continuance due to the COVID-19 pandemic was issued
for good cause under § 29-1207(4)(f).
   [3] The statutory right to a speedy trial is set forth in
§ 29-1207 and Neb. Rev. Stat. § 29-1208 (Reissue 2016).
Section 29-1208 provides that if a defendant is not brought to
trial within the time provided for in § 29-1207, as extended by
excluded periods, the defendant will be entitled to absolute dis-
charge from the charged offense. Under § 29-1207(1), “[e]very
person indicted or informed against for any offense shall be
brought to trial within six months, and such time shall be com-
puted as provided in this section.” Section 29-1207(2) gener-
ally provides that the “six-month period shall commence to
run from the date the indictment is returned or the information
filed.” Certain periods of delay are excluded from the speedy
trial calculation. As relevant to this case, § 29-1207(4)(a)
excludes all time between the time of the filing of a defendant’s
pretrial motions and their final disposition, and § 29-1207(4)(f)
provides that other periods of delay not specifically enumerated
in the statute may be excluded in the speedy trial computation,
“but only if the court finds that they are for good cause.” The
State bears the burden to show, by a preponderance of the evi-
dence, the applicability of one or more of the excluded time
periods under § 29-1207(4). State v. Brown, 310 Neb. 224, 964
N.W.2d 682 (2021).
   [4] To calculate the deadline for trial under the speedy
trial statutes, a court must exclude the day the State filed the
information, count forward 6 months, back up 1 day, and then
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                          STATE v. YOUNG
                       Cite as 30 Neb. App. 553
add any time excluded under § 29-1207(4). State v. Blocher,
307 Neb. 874, 951 N.W.2d 499 (2020). In the instant case, the
information was filed on July 9, 2020, so the last day Young
could be brought to trial without any excludable periods was
January 9, 2021.
   The district court found, and the parties agree, that an
excludable time period existed as a result of Young’s motion
for discovery. Young filed his motion for discovery on July
10, 2020, and the motion was granted on July 14. The time
from the filing of the motion for discovery until the order
was issued is 4 days. That time period is excludable under
§ 29-1207(4)(a) as a pretrial motion of the defendant and thus
extended the speedy trial deadline to January 13, 2021. On
December 7, the district court set the matter for trial on January
4, 2021. The parties agree that this trial date fell within the
allowable speedy trial time.
   However, Young argues that the court’s December 11, 2020,
order continuing the January 4, 2021, trial date indefinitely
due to COVID-19 was not supported by good cause under
§ 29-1207(4)(f) and thus does not qualify as an excludable
period. He contends that the State failed to present any evi-
dence that the continuance on December 11, 2020, was for
good cause. Young acknowledges that the State offered evi-
dence at the motion for discharge, but states that it failed to
create any kind of record establishing good cause prior to the
hearing on the motion for discharge. He further argues, “The
mere existence of the COVID-19 pandemic should be insuffi-
cient by itself to show good cause for delays in Young’s case.”
Brief for appellant at 13.
   [5-10] A district court’s good cause findings must be sup-
ported by evidence in the record, and the State bears the
burden of establishing facts showing that good cause existed.
State v. Brown, supra. When a trial court’s sua sponte deci-
sion to delay trial implicates statutory speedy trial rights, the
exclusion of the period attributable to such delay is governed
by a showing on the record of good cause as described by
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                          STATE v. YOUNG
                       Cite as 30 Neb. App. 553
§ 29-1207(4)(f). State v. Chase, 310 Neb. 160, 964 N.W.2d 254(2021). The Nebraska Supreme Court recently explained that
evidence of good cause is properly presented at the hearing on
the motion for absolute discharge and need not be articulated
at the time of the court’s sua sponte order delaying trial. Id.The burden under § 29-1207(4)(f) is simply that there be “good
cause.” State v. Chase, supra. In determining whether the trial
court clearly erred in finding good cause after a hearing on a
motion for discharge, an appellate court looks not just to the
evidence presented at the hearing on the motion for discharge,
but to the whole of the record. Id. The only timing requirement
implicit in § 29-1207(4)(f) is that the substantial reason afford-
ing a legal excuse objectively existed at the time of the delay.
State v. Chase, supra.   [11] Accordingly, the State did not need to offer any evi-
dence or create any kind of record, as Young contends, to
establish good cause prior to the hearing on the motion for dis-
charge. The December 11, 2020, continuance was ordered sua
sponte by the court and not granted on the State’s motion. The
State did present evidence at the hearing on Young’s motion
for discharge. Our review of whether the State met its burden
to show good cause focuses on the evidence presented to the
court at the hearing on the motion for discharge and whether
the evidence supported the court’s finding that good cause
existed at the time of the delay. See State v. Brown, 310 Neb.
224, 964 N.W.2d 682 (2021). In doing so, we look not just to
the evidence presented at the hearing on the motion for dis-
charge, but to the whole of the record. Id.   [12,13] When a trial court relies on § 29-1207(4)(f) to
exclude time from the speedy trial calculation, a general find-
ing of “good cause” will not suffice. State v. Brown, supra.Instead, the court must make specific findings as to the good
cause which resulted in the delay. Id. An appellate court will
give deference to such factual findings unless they are clearly
erroneous. Id.                              - 560 -
        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                         STATE v. YOUNG
                      Cite as 30 Neb. App. 553
   At the hearing on the motion for discharge, the State offered
exhibit 3 into evidence, which consisted of the court’s December
11, 2020, order for continuance, along with Judge Wheelock’s
order and the attachments to that order. Judge Wheelock’s
order stated that all criminal and civil jury trials scheduled
to begin between January 4 and February 28, 2021, be con-
tinued “to the next available jury trial selection date of each
Individual District Judge pending further order of the Court.”
Attached to Judge Wheelock’s order, and presented as part
of exhibit 3, were the following: (1) a letter dated December
9, 2020, from Douglas County officials requesting the Chief
Justice’s approval for an extension to the limited access to
the courts that was in place at the time and set to expire on
December 31; (2) a letter dated December 10, 2020, from the
State Court Administrator granting Douglas County’s request
to limit access to the courts until February 28, 2021; and (3)
two press releases dated December 5, 2020, and December
6, 2020, from the Douglas County Health Department with
COVID-19 information and recent COVID-19 statistics for
Douglas County.
   In its order overruling Young’s motion for discharge,
the court found the State established “good cause” under
§ 29-1207(4)(f) based on exhibit 3. Specifically, the evidence
showed that Douglas County had received written approval
from the State Court Administrator to extend its limited access
plan until February 28, 2021. The limited access plan included
that no criminal or civil jury trials would be held during the
timeframe. Upon receiving approval, Judge Wheelock entered
an order that all criminal jury trials scheduled to begin between
January 4 and February 28 in Douglas County were continued
until the next available jury trial selection date.
   We conclude that the district court did not err in finding
that the State established “good cause” under § 29-1207(4)(f)
for the court’s December 11, 2020, continuance. We note that
our determination in this respect considers the context of
the COVID-19 pandemic circumstances and conditions that
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                          STATE v. YOUNG
                       Cite as 30 Neb. App. 553
existed at the time the continuance was ordered. See State v.
Brown, supra. The time between December 11, 2020, and the
jury trial is excludable from the speedy trial calculation.

                        CONCLUSION
  We conclude that Young’s statutory right to a speedy trial
was not violated and that therefore, the district court did not err
when it overruled Young’s motion for discharge. The district
court’s order is affirmed.
                                                      Affirmed.
